Case 2:17-cv-01941-GW-E Document 41-4 Filed 08/25/17 Page 1 of 2 Page ID #:1156




                     EXHIBIT 3




                                                                  Exhibit 3 Page 21
                                                           Case 2:17-cv-01941-GW-E Document 41-4 Filed 08/25/17 Page 2 of 2 Page ID #:1157




                    amazon
                     -...._,7

                        8 1:'~                  ,.(,                        Start your Audible 30-Day Free Trial with
                                   OR(,A 'IJ I I..E O                       The Organized Mind: Thinking Straight in the Age of

                                   MIND                                     Information Overload

                                                                            Regular Pnce· $26.95
                                                                                                                                                                                 Summary
                                                                                                                                                                                 The Organized Mind :                              so.oo
                                                                            Your Price: Free                                                                                     Thinking Straight in the
                                                       ..........               No supported credit cards
                                                                                                                                                                                 Age of Information
                                                                                                                                                                                 Overload
                                 T•t•~i-.:
                                     ,_,__ S..niic•• ._ dw "·IP .t
                                             .._ o,..-a.-..                     Please add a supported credit card to complete your order. Audible supports
                                                                                American Express, Discover card, "'lastercard, and Visa.
                                                                                                                                                                                 Second audiobook of your                          so.oo

                                    ----.....-
                                   DANIEL J. LEYI TII
                                                                            Add a credit card
                                                                                                                                                                                 choice
                                                                                                                                                                                 Audible 30-Day Free Trial                         so.oo


                      What am I getting?                                                           ~
                      This audiobook and another of your choice, free. A~er 30 days, Aud ible is S14.95/ month. Each month, choose one
                                                                                                                                                                                 Total:

                                                                                                                                                                                                  Sold and de . ,     J t,r
                                                                                                                                                                                                                                  $0.00



                      audlobook from Aud ible's 150,000+ t itles- regard less of i ts regular price.                                                                                        ~            audible
                                 lhilll!l!IC;,
                                       T!'TI ...,


                          Unmatched selection
                                                                           --·--
                                                                           <.Ru.' LISTEN
                                                                            0;wmn
                                                                           m1                                aE1oa                               I~                         e,   eot"'"   "'.;I
                                                                                                                                                                            Cpnd,tions or Use
                                                                                                                                                                            t a,a,
                                                                                                                                                                                                         an amuon O)fflpany


                                                                                                                                                                                                  ~u, r,.l'CNIM'    OlJ   agree to Audible's
                                                                                                                                                                                               .d Privacy Notia: and authorize us
                                                                                                                                                                                                    L
                                                                                                                                                                                      ...., ~ u. J cn.y card or another
                                                                      Exchange An y Book                   Listen Anywhe re                                                 avauable aedlt card on rue.
                        New releases, best sellers,                                                                                        Ca ncel Anytime
                                                                     Don't like it? Try another,      Get the free Audible app for        Your audiobook are
                             and much more.
                                                                         free. No hassles.               your phone or tablet.              yours to keep.


                    Oo you nttd help? Contact Audible Customer Care at 1-866-416-0103 or by email
Exhibit 3 Page 22




                                                                                                                      amazon.com
                                                                                   Conditions of Use Privacy N«ic:e ln:erest-8asod Ads   2014, Amazon.com, Inc. or Its •.
